Case 3:93-cr-00010-JPJ      Document 351 Filed 05/29/08        Page 1 of 3   Pageid#:
                                       184



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                     CHARLOTTESVILLE DIVISION


UNITED STATES OF AMERICA                 )
                                         )       Case No. 3:93CR00010
                                         )
                                         )       OPINION
v.                                       )
                                         )      By: James P. Jones
KENTON OMAR PERRIN,                      )      Chief United States District Judge
                                         )
             Defendant.                  )

      Charlene R. Day, Assistant United States Attorney, Roanoke, Virginia, for
United States; Frederick T. Heblich, Jr., for Defendant.

      The government has objected to any reduction in sentence for this defendant,

who is eligible for such a reduction under 18 U.S.C. § 3582(c)(2) by virtue of the

lowering of the crack cocaine guidelines.

      I will overrule the government’s objections.

      The government asks the court to reconsider information contained in the

Presentence Investigation Report (in particular the conduct underlying the offense

and the defendant's criminal history), to consider the fact that the defendant has been

treated with "substantial leniency" because he has benefitted from a plea agreement,

and to consider the defendant's behavior while incarcerated.

      I find none of the government's arguments persuasive. As I have explained on

several prior occasions, see, e.g., United States v. Herndon, No. 3:01CR00063, 2008
Case 3:93-cr-00010-JPJ      Document 351 Filed 05/29/08       Page 2 of 3    Pageid#:
                                       185



WL 750588 at *1 (W.D. Va. Mar. 19, 2008), the defendant's criminal background and

the conduct underlying his offense are taken into consideration when calculating his

Criminal History Category and Total Offense Level. The government has failed even

to allege that the defendant's criminal history or danger to the public are not

accurately conveyed by his Criminal History Category and Total Offense Level.

Accordingly, I find that neither the conduct underlying the offense nor the defendant's

criminal history is a bar to reducing his sentence.

      The government next argues that the defendant has already received a lower

sentence than he should have received because he has benefitted from a plea

agreement, and therefore his sentence should not be reduced. This argument is

without merit because the defendant pled not guilty and was convicted by a jury.

      Finally, the government contends the defendant's behavior while incarcerated

militates against a reduction in his sentence. The Chronological Disciplinary Report

submitted by the government indicates that in the approximately fifteen years that the

defendant has been incarcerated, he has been sanctioned for thirteen incidents of

misconduct. Notably, the defendant has not been sanctioned for any offense since

December 16, 1998. It appears that the defendant initially had challenges adjusting

to life in prison, but for almost ten years, he has been a model inmate. For these




                                         -2-
Case 3:93-cr-00010-JPJ       Document 351 Filed 05/29/08      Page 3 of 3    Pageid#:
                                        186



reasons, I do not find his behavior while in prison sufficiently reprehensible to bar a

reduction of his sentence.

      A separate judgement will be entered.

                                               Dated: May 29, 2008

                                                /S/ JAMES P. JONES
                                               Chief United States District Judge




                                         -3-
